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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                      Plaintiff,                                   8:14CR209

       vs.
                                                                     ORDER
JEFFREY NEGUS and
GREGORY NEGUS,

                      Defendants.

       This matter is before the court on the motion for an extension of time by defendant
Gregory Negus (Negus) (Filing No. 25). The defendant seeks an extension of ninety days in
which to file pretrial motions in accordance with the progression order (Filing No. 15). Gregory
Negus has filed an affidavit (Filing No. 26) wherein he consents to the motion and
acknowledges he understands the additional time may be excludable time for the purposes of
the Speedy Trial Act. It is represented that government’s counsel has no objection to the
motion. Upon consideration, the motion will be granted and the pretrial motion deadline will be
extended as to both defendants.


       IT IS ORDERED:
       Defendant Gregory Negus’ motion for an extension of time (Filing No. 25) is granted.
The defendants are given until on or before January 9, 2015, in which to file pretrial motions
pursuant to the progression order. The ends of justice have been served by granting the motion
and outweighs the interests of the public and the defendants in a speedy trial. The additional
time arising as a result of the granting of the motion, i.e., the time between October 1, 2014,
and January 9, 2015, shall be deemed excludable time in any computation of time under the
requirement of the Speedy Trial Act for the reason defendants’ counsel require additional time
to adequately prepare the case, taking into consideration due diligence of counsel, and the
novelty and complexity of this case.     The failure to grant additional time might result in a
miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).


       Dated this 1st day of October, 2014.
                                                    BY THE COURT:

                                                    s/ Thomas D. Thalken
                                                    United States Magistrate Judge
